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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,

             Plaintiff,             Civil Action No. 1:23-cv-11195 (SHS) (OTW)

                v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

            Defendants.




 PLAINTIFF THE NEW YORK TIMES COMPANY’S RESPONSE TO THE OPENAI
    DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL (DKT. 370)
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       Under Paragraph 22 of the Protective Order (Dkt. No. 127), Plaintiff The New York Times

Company (“The Times”) responds to the OpenAI Defendants’ (“OpenAI”) December 23, 2024

Motion for Leave to File Under Seal (Dkt. 370) (“Motion to Seal”). OpenAI filed the Motion to

Seal in connection with its Objection to Discovery Orders (Dkt. 371) (“OpenAI’s Objection”). The

Motion to Seal addresses material The Times produced in this case.

       The Court should grant the Motion to Seal in part; specifically, Exhibits A and B to

OpenAI’s Objection (Dkt. 372-1 and Dkt. 372-2) should remain sealed. Exhibit A is a

memorandum from The Copyright Clearance Center (“CCC”) to The Times addressing plans for

rightsholders to collectively license copyrighted content for use within AI systems. CCC labeled

this memorandum as “Confidential to the [] Copyright Clearance Center.” Exhibit B is an email

exchange between CCC and The Times relating to the Exhibit A memorandum. Counsel for The

Times conferred with CCC to discuss this sealing response, and CCC believes these materials

should be sealed. Finally, OpenAI’s Objection brief describes and directly quotes from the Exhibit

A memorandum, Dkt. 372, and CCC also believes these direct quotes should be redacted. A revised

version of OpenAI’s Objection is attached to this filing, which only redacts the direct quotes to

Exhibit A, as opposed to OpenAI’s description of Exhibit A.

       Although “[t]he common law right of public access to judicial documents is firmly rooted

in our nation’s history,” courts “must balance competing considerations against” this presumption

of public access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006).

“[T]he presumption of public access in filings submitted in connection with discovery disputes . .

. is generally somewhat lower than the presumption applied to material introduced at trial, or in




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connection with dispositive motions . . . .” Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019).

“[W]hile a court must still articulate specific and substantial reasons for sealing such material, the

reasons usually need not be as compelling as those required to seal summary judgment filings.”

Id. This standard applies here because the Motion to Seal addresses material cited in an objection

to a discovery ruling.

       This response narrows the scope of the Motion to Seal, confining sealing to the attached

exhibits and the direct quotes to those exhibits. By so confining its request, this response targets

only “specific business information and strategies, which, if revealed, may provide valuable

insights into [CCC’s] current business practices that a competitor would seek to exploit.” Louis

Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 511 (S.D.N.Y. 2015) (granting

sealing request).1

       For these reasons, OpenAI’s Motion to Seal should be granted in part. Specifically, Exhibits

A and B (Dkt. 372-1 and Dkt. 372-2) should remain sealed, and limited portions of OpenAI’s

Objection (Dkt. 372) should remain redacted.


Dated: January 3, 2025                         /s/ Ian Crosby

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  The Times supports sealing a small portion of the Exhibit A memorandum—specifically, a chart
that contains nonpublic revenue figures for Times licensing deals. This chart comprises just one-
third of one page of the four-page memorandum.




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                                CERTIFICATE OF SERVICE

          I hereby certify that on January 3, 2025, I caused the foregoing document to be

electronically filed with the Clerk of the United States District Court for the Southern District of

New York using the CM/ECF system, which shall send electronic notification to all counsel of

record.

                                                 /s/ Ian Crosby




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